
Cranch, C. J.
All indictments upon statutes must state all the circumstances which constitute the definition of the offence in the act, so as to bring the defendant precisely within it; and a conclusion “ contrary to the form of the statute,” will not aid a defect in this respect. 1 Chitty, Cr, PI. 281.
It is, in general, necessary, not only to set forth on the record all the circumstances which make up the statutable definition of the offence, but also to pursue the precise and technical language in which they are expressed. Foster, Cr. L. 424; Cro. Jac. 607; 11 Co. 58; 2 Hale, H. P. C. 170; 2 Leach, 1107; 2 Hawk. *307c. 25, § 110; Bac. Ab., Indictment, H. 2; Hard. 21; 8 T. R. 536; 2 East, Cr. L. 985, c. 19, § 58.
So, in an indictment for perjury upon the statute, the word “ wilfully” must be inserted, because it is part of the description which the act gives of the crime, though in an indictment for the same offence at common law, that precise term is not essential, but may be supplied by others that convey the same idea. These rules respecting the exact words of the .statute by which the offence was created, apply equally to' acts of the legislature by which the benefit of clergy is taken away from offences which existed at common law; for, if the crime be not, in general, brought within the exact words, the prisoner can recover judgment only as if no alteration had taken place, and the statutes had never been enacted. 1 Chitty, 195. And the same rule applies where an offence at common law is made a crime of a higher nature ; as where a misdemeanor is made a felony; or a felony a treason. 2 Hale, H. P. C. 192.
Upon an indictment for murder, the jury may find the prisoner guilty of manslaughter, because the crimes are of the same nature, and only differ in degree. 1 Hale, 449.
In the present case the indictment is for a felony. It charges that the defendant did “feloniously 'utter,” &amp;c. If the word “feloniously” and “ against the form of the statute,” can be rejected as surplusage, the indictment seems to describe a common-law offence with sufficient certainty, but that offence is only a misdemeanor. 3 Chitty, Cr. Pl. 1022. Can the Court, upon an indictment for felony, give judgment as for a misdemeanor, upon a general verdict ?
By the English common law, it cannot; nor is it competent for the jury to find a verdict for a misdemeanor upon an indictment for felony. 1 Chitty, Cr. Pl. 310, 367, 368, 369. The judgment must correspond with the verdict, and the verdict with the indictment ; so far, at least, as regards the nature of the offence. Here the verdict is, guilty of felony. No precedent of. a judgment as for misdemeanor, on such a verdict, can be found.
It does not seem to me that this indictment describes a case within the' statute, (the Penitentiary Act of 2d of March, 1831.) It does not aver that the defendant uttered'“ a paper writing,” or “ printed paper; ” nor does it aver that the check, which was uttered, was “to the prejudice of the right of any other person,” &amp;c. At common law, to constitute forgery, it is not necessary that the right of any person should have been actually prejudiced. The forgery, may, or may not, have produced the intended injury ; and it is not necessary to aver, in an indictment for forgery at common law, that the act was done to the prejudice of the *308right of any person. It is sufficient to state that it was done with intent to injure or defraud some other person. If the forgery be detected before the injury has been done, it is less prejudicial to • society, than if the fraudulent object had been attained; and therefore Congress may have thought proper to punish a forgery which has been effectual, more severely than one which has not produced an actual injury to some individual or body politic.
The words, “ to the prejudice of the right of any other person,” cannot be used as merely indicative of the intent with which the act must be done; for that intent is expressly declared by the words which immediately follow, namely, “ with intent to defraud such person.” The act may be done to the prejudice of the right of another, but it is not forgery, either under the statute, or at ' common law, unless it be also done with intent to defraud some person.
I therefore doubt whether, in order to bring the offence within the Penitentiary Act, the indictment should not have staled the uttering of a forged “ paper writing,” or “printed paper,” “to the prejudice of the right of some person.
But it is said to be a good indictment under the Maryland Act of 1799, c. 75. I'think it is not. That act makes it felony to forge, &amp;c., “ any order for the payment of money; ” and a check may be an order, but it ought to have been so called in the indictment. Neither the indictment nor the verdict can now be amended. It is an indictment for a felony, with a.general verdict ; and if the word check is a. sufficient substitute for the word “ warrant, draft, or order ” for the payment of money, it is a good indictment for felony; and upon an indictment for felony, as before observed, judgment cannot.be given as for a misdemeanor. But this principle is now denied, and the ease of Scholfteld, in 2 East’s Cr. L. 1028, is referred to.
That indictment was not for felony, but for a misdemeanor in attempting to commit a felony.
So in Holmes’s case, 2 East, Cr. L. 1023, the offence described in the indictment was only misdemeanor as it appeared upon the face of the indictment, although the act was stated to be done feloniously; and the court, seeing that the offence, as charged, could not be a felony, gave judgment as for a misdemeanor.
So also in Wertbeer's case, for stealing a commission, (Strange, 1137,) and Joyner’s case, Kelyng, 29, for stealing a fixed copper boiler, it was manifest that the offences, as charged, could not be felonies. Chitty, (1 Cr. L. 456,) speaking of the plea of autrefois acquit, says, “ if the first charge were such an one as that the defendant could not have been convicted of the latter upon it, the acquittal cannot be pleaded. Thus, if the first charge were a *309felony, or stealing, and the second for a mere misdemeanor, the previous acquittal will be no bar ; for a felony, or larceny,_cannot be modified, on the trial, into a trespass or misdeméanor.”
See also, 1 Chitty, 638, where the principle is stated which for- ' bids judgment to be given as for a misdemeanor upon an indictment for felony. See also 2 Hale, 172.
For these reasons I think the judgment ought to be arrested.
The prisoner was pardoned, upon the recommendation of the Court.
